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              EXHIBIT 5
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                      IN THE CIRCUIT COURT OF THE SECOND
               JUDICIAL CIRCUIT IN AND FOR LEON COUNTY, FLORIDA

THE STATE OF FLORIDA                        )
                                            )
ex reI.                                     )
                                            )
          VEN-A-CARE OF THE                 )
          FLORIDA KEYS, INC.,               )
          a Florida Corporation, by and     )
          through its principal             )
          officers and directors,           )
          ZACHARY T. BENTLEY and   )
          T. MARK JONES,           )
                                   )
                       Plaintiffs, )
                                   )               CIVIL ACTION NOS.    98-CA3032F
                                   )                                    03-CA1165A
                                   )
                                   )              JURY TRIAL DEMANDED
ALPHARMA, INC.; ALPHARMA           )
USPD, INC. f/kla BARRE-NATIONAL, )
INC.; BARRE PARENT                 )
CORPORATION; FAULDING, INC.;       )
IVAX CORPORATION; IVAX             )
PHARMACEUTICALS, INC. f/kla        )
ZENITH-GOLDLINE                    )
PHARMACEUTICALS, INC.; MAYNE )                     NOT FILED UNDER SEAL
GROUP, LTD.; SANDOZ INC.,          )
f/kla GENEVA PHARMACEUTICALS, )
INC.; NOVARTlS, A.G.; PUREPAC      )
PHARMACEUTICAL CO.; ACTAVIS, )
INC.; ACTAVIS ELIZABETH LLC.;      )
and ACTAVIS MID ATLANTIC LLC       )
                                   )
                       Defendants. )
                                                                                    .           )

-------------,)
                           SECOND AMENDED COMPLAINT                             ,           }


                                                                            ,           )



          Plaintiff, the STATE OF FLORIDA, acting by and through its Attorne{General,

Pamela Jo Bondi, brings this cause of action against Defendants Alpharma USPD, Inc.

n/kJa Actavis Mid Atlantic LLC, Purepac Pharmaceutical Co. n/kJa Actavis Elizabeth



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LLC, and Sandoz Inc. f/k/a Geneva Pharmaceuticals, Inc.

                                   I. INTRODUCTION

       1.   This is a civil action to recover damages in excess of Fifteen Thousand

Dollars ($15,000) plus all applicable civil penalties and other relief from Defendants for

making or causing to be made, false or fraudulent statements, representations and

claims to the State of Florida's Medicaid Program for the specified dispensed

pharmaceuticals. The specified pharmaceuticals (herein "the Subject Drugs") at issue

are attached as Exhibits A 1 and B1 and incorporated by reference into this Second

Amended Complaint.

       2.   Plaintiffs seek recovery against Defendants pursuant to the Florida False

Claims Act sections 68.081 - 68.092, Fla. Stat. (herein "the Act").

                             II. VENUE AND JURISDICTION

       3. Venue is proper in Leon County pursuant to section 68.083(3), Fla. Stat.

       4. This Court has subject matter jurisdiction over the causes of action set forth in

this Second Amended Complaint pursuant to Art. V section 20(3), Fla. Const.; section

26.012, Fla. Stat.; and section 68.083(3), Fla. Stat.

       5. This Court has personal jurisdiction over the Defendants pursuant to section

48.193, Fla. Stat.

                                       III. PARTIES

       6. The State of Florida, Office of the Attorney General, Department of Legal

Affairs (herein "the Attorney General"), is acting on behalf of the Florida Agency for

Health Care Administration (herein "AHCA"), which administers the Florida Medicaid




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·,
     Program pursuant to section 409.9025, Fla. Stat., and pursuant to the Attorney

     General's own authority under sections 409.920 and 68.083, Fla. Stat.

            7. Private person Plaintiff/Relator Ven-A-Care of the Florida Keys, Inc. (herein

     ''Ven-A-Care'') originally provided information to the State of Florida which is the basis of

     this suit pursuant to section 68.083(3), Fla. Stat. and is included as a named party

     Plaintiff in this case pursuant to section 68.083(2) and (3), Fla. Stat.

                                    SANDOz/GENEVA DEFENDANTS

            8. Defendant Sandoz Inc. is a Colorado corporation with its principal offices in

     Princeton, New Jersey.       Sandoz Inc. ("Sandoz/Geneva") was formerly known as

     Geneva Pharmaceuticals, Inc.        At all times material to this action, Sandoz/Geneva

     transacted business in the State of Florida by selling its drugs, including but not limited

     to, the drugs specified in Exhibit B1, called the Sandoz/Geneva Subject Drugs, directly

     or through wholesalers, in the State of Florida, including Leon County.

         ALPHARMA USPD INC. n/kla ACTAVIS MID ATLANTIC LLC and PUREPAC
          PHARMACEUTICAL CO. n/kla ACTAVIS ELIZABETH LLC DEFENDANTS

            9.     Defendant Purepac Pharmaceutical Co. (herein "Purepac") is or has been

     during times material to this action, a Delaware corporation with its principal offices in

     Elizabeth, New Jersey. At all times material to this action, Purepac and/or its successor

     Actavis Elizabeth LLC, transacted business in the State of Florida by selling its drugs,

     including, but not limited to, the drugs specified in Exhibit A1, herein called the Purepac

     Subject Drugs, directly or through wholesalers, in the State of Florida, including Leon

     County.

            10.    Defendant Alpharma USPD, Inc., is or has been during times material to

 this action, a Maryland corporation with its principal offices in Baltimore, Maryland.        At

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· all times material to this action, Alpharma USPD and/or its successor Actavis Mid

Atlantic LLC transacted business in the State of Florida by selling its drugs, including,

but not limited to, the drugs specified in Exhibit A1, herein called the Alpharma Subject

Drugs, directly or through wholesalers, in the State of Florida, including Leon County.

       11.   Actavis Mid Atlantic, LLC, is or has been during all times material to this

action, a Delaware corporation with its principal offices in Dover, Delaware and a wholly

owned subsidiary of Actavis Inc. Actavis Inc. is owned by Actavis HF.

       12.   Actavis Elizabeth LLC, is or has been during all times material to this

action, a Delaware corporation with its principal offices in Elizabeth, New Jersey and a

wholly owned subsidiary of Actavis, Inc. Actavis Inc. is owned by Actavis HF.

       13.   On or about December 2005, the generics pharmaceutical business of

Alpharma, including Alpharma USPD, Inc. and Purepac Pharmaceutical Co., was

acquired by Actavis Inc. Alpharma USPD, Inc. was subsequently merged with Actavis

Mid Atlantic and Actavis Mid Atlantic became the successor and surviving entity to

Alpharma USPD, Inc. Purep ac Pharmaceutical Co. was subsequently merged with

Actavis Elizabeth LLC and Actavis Elizabeth LLC became the successor and surviving

entity to Purepac. Actavis Elizabeth LLC is the present holder of National Drug Codes

(herein "NDCs") for the Purepac Subject Drugs. Upon information and belief, Actavis

Mid Atlantic LLC is the present holder of NDCs for the Alpharma Subject Drugs.

                                  ACTAVIS ELIZABETH LLC

       14. Actavis Elizabeth LLC is liable either independently for its actions set forth

herein and/or for the actions of Purepac Pharmaceutical Co. because, as a survivor

entity and successor in interest, Actavis Elizabeth LLC expressly or impliedly assumed



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the obligations of the predecessors. In the alternative, upon information and belief, the

transaction with Purepac Pharmaceutical Co. resulted in a de facto merger, Actavis

Elizabeth LLC is a mere continuation of Purepac Pharmaceutical Co., and the

transaction was a fraudulent effort to avoid the liabilities of the predecessors.

                                 ACTAVIS MID ATLANTIC LLC

       15. Actavis Mid Atlantic LLC is liable either independently for its actions set forth

herein and/or for the actions of Alpharma USPD because, as a survivor entity and

successor in interest, Actavis Mid Atlantic LLC expressly or impliedly assumed the

obligations of the predecessors.      In the alternative, upon information and belief the

transaction with Alpharma USPD resulted in a de facto merger, Actavis Mid Atlantic LLC

is a mere continuation of Alpharma USPD, and the transaction was a fraudulent effort to

avoid the liabilities of the predecessors.

       16.    Whenever reference is made in this Second Amended Complaint to any

representation, act or transaction of any of the Defendants, such allegation shall be

deemed to mean that the principals, officers, directors, employees, agents or

representatives, while actively engaged in the course and scope of their employment,

did or authorized such representations, acts, or transactions on behalf of the

Defendants.

             IV. THE FLORIDA MEDICAID PHARMACEUTICAL PROGRAM

       17.    The Medicaid Program is authorized by Title XIX of the Social Security Act

and Title 42 of the Code of Federal Regulations.         The Florida Medicaid Program is

authorized by section 409.902, Fla. Stat., and Chapter 59G, Florida Administrative Code

(F.A.C.). The Florida Medicaid Prescribed Drug Services program is administered



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pursuant to Chapter 409.906 Fla. Stat., which authorizes AHCA to maintain and

administer a prescribed drug services program as a benefit for Medicaid recipients.

Chapter 59G-4.250, F.A.C., implements policies for the prescribed drug services

program.

       18.   The Office of the Attorney General conducts a program of Medicaid fraud

control through its Medicaid Fraud Control Unit.

       19.    Pharmaceuticals are identified on Florida Medicaid claims and the Florida

Medicaid computer system drug file by means of unique identification numbers

commonly known as National Drug Codes.

      20.    The ultimate providers of pharmaceuticals to Medicaid recipients,

including physicians, hospitals, nursing homes, and pharmacies, purchase drugs from

manufacturers or wholesalers, including re-packagers and re-Iabelers, and in turn,

dispense or administer the drugs to Medicaid recipients.

       21.   AHCA awards contracts to private companies to evaluate, adjudicate and

process Medicaid providers' electronic and hard copy claims for payments.        These

contractors, referred to as "fiscal agents", are agents and instrumentalities of AHCA.

The providers, primarily pharmacies, submit claims for reimbursement incurred in

purchasing and dispensing the drugs to AHCA's fiscal agent, under a Medicaid provider

contract pursuant to section 409.907, Fla. Stat.

      22.     Defendants are aware that AHCA is responsible for reimbursing Medicaid

providers in accordance with state and federal law.    Pursuant to federal regulations,

Florida, like all states, is required to pay claims based upon a drug's "Estimated

Acquisition Cost" (herein "EAC"), to the provider submitting the claim. 42 CFR section



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447.331. During the period covered by this Second Amended Complaint, the Florida

state legislature codi'f1ed and amended certain of the statutory provisions related to

Medicaid    prescription   reimbursement,    including   sections 409.912(40)(a)(2)   and

409.908(14), Fla. Stat.    The Medicaid reimbursement methodologies for prescribed

drugs, including the revisions to these methodologies over time, are set forth in the

various revisions to the Prescribed         Drug   Services Coverage, Limitations and

Reimbursement Handbook adopted by administrative rule process through Section

120.54.(I)(i), Fla. Stat., as F.A.C. Rule 59.G-4.250. The reimbursement formulas

resulting from these statutory, regulatory and administrative processes for the period

covered by the Second Amended Complaint are as follows:

a.     From July 1, 1994, through and including June 30, 1999, reimbursement was

based on the lowest of:

       1.     Wholesale Acquisition Cost (herein "WAC") plus 7 percent, plus a

       dispensing fee, except Class II controlled substances or items that frequently

       required drop shipment or purchase from a secondary supplier, which are priced

       at Average Wholesale Price (herein "AWP");

       2.     Generic Upper Limit Price (herein "GULP"), plus a dispensing fee (this

       term was a predecessor term to the Federal Upper Limit);

       3.     State Maximum Allowable Cost (herein "SMAC") plus a dispensing fee; or

       4.     Usual and Customary Charge (herein "UAC").

b.     From July 1, 1999 through and including June 30, 2000, reimbursement was

based on the lowest of:

       1.     Minimum of Average Wholesale Price minus 11.5 percent, Wholesale



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       Acquisition Cost plus 7 percent, or Direct Price plus 7 percent, plus a dispensing

       fee;

       2.     Generic Upper Limit Price, plus a dispensing fee;

       3.     State Maximum Allowable Cost plus a dispensing fee; or

       4.     Usual and Customary Charge.

c.     From July 1, 2000 through and including June 30, 2004, reimbursement was

based on the lowest of:

       1.     Average Wholesale Price minus 13.25 percent, plus a dispensing

       fee;

       2.     Wholesale Acquisition Cost plus 7%, plus a dispensing fee (For the period

       of July 2000 through April 2002, WAC was not utilized in the reimbursement

       methodology);

       3.     Federal Upper Limit (herein "FUL"), plus a dispensing fee;

       4.     State Maximum Allowable Cost, plus a dispensing fee; or

       5.     Usual and Customary Charge.

d.     From July 1, 2004 through and including June 30, 2008, reimbursement was

based on the lowest of:

       1.     Average Wholesale Price minus 15.4 percent, plus a dispensing fee;

       2.     Wholesale Acquisition Cost plus 5.75 percent, plus a dispensing fee;

       3.     Federal Upper Limit, plus a dispensing fee;

       4.     State Maximum Allowable Cost, plus a dispensing fee; or

       5.     Usual and Customary Charge.

e.     From July 1, 2008 through the date of the filing of the Second Amended



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Complaint, reimbursement was based on the lowest of:

       1.      Average Wholesale Price minus 16.4 percent, plus a dispensing fee;

       2.      Wholesale Acquisition Cost plus 4.75 percent, plus a dispensing fee;

       3.      Federal Upper Limit, plus a dispensing fee;

       4.      State Maximum Allowable Cost, plus a dispensing fee; or

       5.      Usual and customary Charge.

       23.     The Florida Medicaid dispensing fee, during all times material to this

action, has been $4.23 per prescription until March 1, 2009 when AHCA was directed to

institute variable dispensing fees for prescribed medications. § 409.908 (14), Fla. Stat.

An additional $.015 per unit is paid to pharmacies who prepare in house unit dose

packaging of tablets or capsules. See, Prescribed Drug Services Coverage, Limitations

and Reimbursement Handbook, p. 3-3, supra.

       24.     AHCA's fiscal agent reimburses pharmaceutical provider claims based on

the current Florida Medicaid computer system drug file prices, and such prices are

derived from pricing information, including AWPs and WACs, supplied and updated

weekly by the First DataBank, Inc.'s ("First DataBank") National Drug Data file electronic

service.     See Prescribed Drug Services Coverage, Limitations and Reimbursement

Handbook, p. 6-3, supra.     First DataBank, a division of The Hearst Corporation, is a

nationally-recognized company that specializes in gathering           and   disseminating

prescription drug pricing information, including AWPs and WACs, to a variety of

companies and entities, including public health programs, state Medicaid programs and

private health insurers.

       25.     AHCA's fiscal agent has at all times relevant to this Second Amended



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Complain contracted with First DataBank to provide National Drug Data file prices to

determine Florida Medicaid provider drug reimbursement amounts in accordance with

its reimbursement formulary as set forth in the paragraph above. The Florida Medicaid

Program has utilized First DataBank as its primary reference source and has utilized

AWP and WAC prices supplied by First DataBank to determine provider reimbursement.

      26.   Defendants directly supply AWP and WAC to First DataBank.           First

DataBank uses the AWPs and WACs supplied by the Defendants, to compile the

National Drug Data file price list, which in turn is utilized by the Florida Medicaid

Program.

      27.    The Florida Medicaid Program cannot reimburse a provider for any drug

not listed in the National Drug Data File. Defendants voluntarily report AWP and WAC

pricing information to First DataBank to ensure their products are included in the

National Drug Data file and that their customers will be reimbursed by the Florida

Medicaid Program.

                V. SUMMARY OF DEFENDANTS' FRAUD SCHEME

      28.    The Florida Medicaid Program reimburses providers for the drugs they

dispense to Medicaid recipients at EAC. Florida Medicaid determines EAC by using the

AWPs and WACs supplied by pharmaceutical manufacturers to First DataBank. The

Defendants are aware that the Florida Medicaid Program utilizes pricing information

from First DataBank for the purposes of reimbursing Medicaid providers, and knowingly

misrepresented AWP and WAC prices for the purpose of illicit financial gain in an

attempt to manipulate and control market share of the Subject Drugs.

      29.    The Defendants knowingly and intentionally made false representations of



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prices and costs for certain of their drugs to the Florida Medicaid Program.        The

Defendants reported, and caused First DataBank to report prices for the Subject Drugs

that substantially exceeded the market prices known to the Defendants from their own

business information.   The Defendants knew that reporting false, inflated AWP and

WAC prices for the Subject Drugs would cause the Florida Medicaid Program's

estimates of the acquisition costs of the Subject Drugs to substantially exceed any

reasonable estimates of the acquisition costs of those drugs.

       30.   The Defendants knowingly and intentionally created a price spread for

some of their drugs, including the Subject Drugs, by supplying to First DataBank prices

for those drugs far in excess of the prices for which the drugs were reasonably and

currently available in the marketplace.     A "spread" is the difference between the

purchase price and the amount reimbursed by the Florida Medicaid Program.           The

Defendants intended that the Florida Medicaid Program use those false, inflated prices

in setting provider reimbursement rates, and, in fact, the Florida Medicaid Program did

use those false, inflated prices to set Medicaid reimbursement rates. As a direct result

of the Florida Medicaid Program's utilization of the false prices supplied by the

Defendants, claims were paid for the Subject Drugs dispensed in amounts far in excess

of the prices generally and currently paid by providers for the SUbject Drugs.

       31.   After creating price spreads for their drugs, Defendants enlarged those

spreads by reducing acquisition costs to providers without disclosing the reductions to

First DataBank or to the Florida Medicaid Program.               Price reductions were

accomplished by giving providers financial incentives such as discounts, rebates, off­

invoice pricing, free goods, and cash payments.       Price reductions were granted by



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Defendants to some retail pharmacy chains, wholesalers, buying groups, pharmacy

benefit managers at the request of those entities. Defendants knowingly utilized these

financial incentives to reduce the effective acquisition prices of their drugs, while

knowingly reporting AWPs and WACs to First DataBank that were not reflective of the

price reductions.

       32.     After maximizing the inflated spread on their drugs, including the Subject

Drugs, Defendants engaged in a tactic commonly referred to as "marketing the spread,"

for the purpose of increasing their market share and profits. Providers were induced to

buy the Subject Drugs at issue because the Medicaid reimbursements for such drugs

far exceeded the providers' acquisition costs generally or currently available in the

marketplace.        The   Defendants   actively   marketed   the   spread    through   sales

presentations, bid proposals, advertising, and various pharmacy inventory software

programs specifically to increase their market share and earnings.

      33.      The goals of Defendants' fraudulent activities include: maximized demand

for the drugs at issue, domination of the market for the Subject Drugs, and illegal over­

reimbursement of Medicaid provider claims for the Subject Drugs.            The Defendants

inflated their reported prices and marketed the resulting inflated spread, with the

purpose and intent of increasing sales of the Subject Drugs to providers. As a direct,

foreseeable, and proximate result of this conduct, Defendants caused false claims for

excessive reimbursement to be made to the Florida Medicaid Program. But for each of

the Defendants' actions, the Florida Medicaid Program would not have paid the

excessive reimbursement amounts for the Subject Drugs.               Consequently, each

Defendant is liable for violations of the Florida False Claims Act for each Medicaid



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reimbursement claim for each of their Subject Drugs which resulted in payment of a

falsely inflated reimbursement amount.

       34.    Defendants' knowing misrepresentations of drug prices to First DataBank

caused each and every claim paid by the Florida Medicaid Program for the Subject

Drugs to be a false claim under section 68.081, Fla. Stat., et seq.   35.    Defendants

virtually control what price information the payers, including the Florida Medicaid

Program, can obtain. Defendants have taken undue advantage of the resulting disparity

in status, power and        knowledge by knowingly reporting prices for Medicaid

reimbursement purposes that bear no relationship to prices generally or currently paid in

the marketplace.

                    VI. THE ACTIONABLE CONDUCT OF DEFENDANTS

       35.    The Defendants acted knowingly, as defined by section 68.082(1)(c), Fla.

Stat., in presenting or causing to be presented to the Florida Medicaid Program false

claims for payment or approval in violation of section 68.082(2)(a), Florida Statutes by:

             a).       Submitting false, inflated prices and costs, including AWPs and

                      WACs, for specified pharmaceuticals to First DataBank initially;

              b).      Concealing or failing to disclose decreases in prices and costs of

                      such pharmaceuticals to First DataBank;

              c).      Concealing or failing to disclose decreases in prices and costs of

                      specified pharmaceuticals by reporting price reductions much

                      smaller than the true price reductions;

             d).      Concealing or failing to disclose financial incentives such as

                      discounts, rebates, off-invoice pricing, free goods, cash payments,



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                       and charge backs that decreased the effective prices of the

                       specified pharmaceuticals;

             e).       Reporting that the price or cost of a specified drug was increasing,

                       when in fact it was increasing in a lesser proportion, remained the

                       same, or was decreasing; and

             f).       Reporting that the price or cost of a specified drug was the same

                       when in fact it was falling.

       36.   The Defendants acted knowingly, as defined by section 68.082(1 )(c), Fla.

Stat., in making, using, or causing to be made false records or statements to get claims

paid or approved by the Florida Medicaid Program in violation of section 68.082(2)(b),

Florida Statutes by:

              a).      Submitting false, inflated prices and costs, including AWPs and

                       WACs, for specified pharmaceuticals to First DataBank initially;

              b).      Concealing or failing to disclose decreases in prices and costs of

                       such pharmaceuticals to First DataBank;

              c).      Concealing or failing to disclose decreases in prices and costs of

                       specified pharmaceuticals by reporting price reductions much

                       smaller than the true price reductions;

              d).      Concealing or failing to disclose financial incentives such as

                       discounts, rebates, off-invoice pricing, free goods, cash payments,

                       and charge backs that decreased the effective prices of the

                       speci'fied pharmaceuticals;

              e).      Reporting that the price or cost of a specified drug was increasing,



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"




                         when in fact it was increasing in a lesser proportion, remained the

                         same, or was decreasing; and

                  f).    Reporting that the price or cost of a specified drug was the same

                         when in fact it was falling,

                           The Specific False Price Representations
                                      of Sandoz/Geneva

           37. Throughout the period starting July 1, 1998, Lip to and including the time of

    trial, Sandoz/Geneva knowingly caused the Florida Medicaid Program to pay false or

    fraudulent claims for prescription drugs and Sandoz/Geneva further made or used false

    or fraudulent records and/or statements to get such claims paid or approved. As a

    result of the actions of Sandoz/Geneva and those persons and entities acting directly or

    indirectly in concert with them, the Florida Medicaid Program paid grossly excessive

    and unreasonable reimbursement amounts for drugs.             The acts committed by

    Sandoz/Geneva that caused the Florida Medicaid Program to payor approve these

    false or fraudulent claims included, but were not limited to: knowingly making false

    representations about prices and costs of drugs which Sandoz/Geneva knew would be

    used by the Florida Medicaid Program in paying or approving claims for such drugs;

    using the inflated spread as a financial inducement to increase sales of the Subject

    Drugs; and paying additional rebates and discounts to customers, effectively reducing

    the customer's acquisition cost for these drugs without reporting to First DataBank

    prices net of these discounts and rebates. Each of these false pricing representations

    were used by the Florida Medicaid Program in paying or approving claims for drugs,

    including those specified in this section.

           38.    Sandoz/Geneva knowingly caused its false price and cost representations

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to be published during the years specified in this section in First DataBank's Automated

Services and further made or used false records or statements regarding their prices of

the drugs. Examples of the difference between the prices at which Sandoz/Geneva

actually sold its drugs and the false prices reported to First DataBank by

Sandoz/Geneva are listed in Exhibit B1. The false price representations as reported by

Sandoz/Geneva and reflected by First DataBank are listed in the AWP column and the

WAC column. The amount listed under the Relator's Cost column reflects the prices

generally or currently paid in the marketplace by the Relator or the Relator's Group

Purchasing Organization for the listed drugs obtained from Sandoz/Geneva or a

wholesaler.


      39.     As a direct and proximate result of Sandoz/Geneva's       actions alleged in

this Second Amended Complaint, the State of Florida sustained actual damages in

excess of $15,000 together with treble damages, penalties, and attorneys' fees

pursuant to the Florida False Claims Act.

                       The Specific False Price Representations
            of the Purepac Pharmaceutical Co. n/kJa Actavis Elizabeth LLC

      40.     Beginning in April, 1998, through and including the time of trial, Defendant

Purepac Pharmaceutical Co. n/k/a Actavis Elizabeth LLC, knowingly caused the Florida

Medicaid Program to pay false or fraudulent claims for prescription drugs, including

those specified in this section, and further made or used false or fraudulent records

and/or statements to get such claims paid or approved. As a result of the actions of

Purepac Pharmaceutical Co. n/k/a Actavis Elizabeth LLC, the Florida Medicaid Program

paid grossly excessive and unreasonable reimbursement amounts for drugs. The acts

committed by Purepac Pharmaceutical Co. n/k/a Actavis Elizabeth LLC that caused the

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Florida Medicaid Program to payor approve these false or fraudulent claims included,

but were not limited to: knowingly making false representations about prices and costs

of drugs, including those specified in this section, which Purepac Pharmaceutical Co.

n/kla Actavis Elizabeth LLC knew would be used by the Florida Medicaid Program in

paying or approving claims for such drugs and using the inflated spread as a financial

inducement to increase sales of the Subject Drugs; and paying additional rebates and

discounts to customers, effectively reducing the customer's acquisition cost for these

drugs without reporting to First DataBank prices net of these discounts and rebates.

Each of these false pricing representations were used by the Florida Medicaid Program

in paying or approving claims for drugs, including those specified in this section.

      41.     Purepac Pharmaceutical Co. n/k/a Actavis Elizabeth LLC knowingly

caused false price and cost representations to be published during the years specified

in this section in First DataBank's Automated Services and further made or used false

records or statements regarding its prices of the drugs.       Examples of the difference

between the prices at which Defendant actually sold its drugs and the false prices

reported to First DataBank by Defendant are listed in Exhibit A1. The false price

representations as reported by Purepac Pharmaceutical Co. n/kla Actavis Elizabeth

LLC and reflected by First DataBank are listed in the AWP column and the WAC

column.     The amount listed under the Relator's Cost column reflects the prices

generally or currently paid in the marketplace by the Relator or the Relator's Group

Purchasing Organization for the listed drugs obtained from Purepac Pharmaceutical Co.

n/kla Actavis Elizabeth LLC or a wholesaler.




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      42.    As a direct and proximate result of Purepac/Actavis Elizabeth's actions

alleged in this Second Amended Complaint, the State of Florida sustained actual

damages in excess of $15,000 together with treble damages, penalties, and attorneys'

fees pursuant to the Florida False Claims Act.

                     The Specific False Price Representations
               of Alpharma USPO Inc. n/kla Actavis Mid Atlantic LLC

      43.    Beginning in April 1998, through and including the time of trial, Alpharma

USPD Inc., n/k1a Actavis Mid Atlantic LLC knowingl y caused the Florida Medicaid

Program to pay false or fraudulent claims for prescription drugs and further made or

used false or fraudulent records and/or statements to get such claims paid or approved.

As a result of the actions of Alpharma USPD Inc., n/k1a Actavis Mid Atlantic LLC, the

Florida Medicaid Program paid grossly excessive and unreasonable reimbursement

amounts for drugs. The acts committed by Alpharma USPD Inc., n/k1a Actavis Mid

Atlantic LLC that caused the Florida Medicaid Program to payor approve these false or

fraudulent claims included,     but were not limited to:     knowingly making false

representations about prices and costs of drugs, which Alpharma USPD Inc., n/k1a

Actavis Mid Atlantic LLC knew would be used by the Florida Medicaid Program in

paying or approVing claims for such drugs and using the inflated spread as a financial

inducement to increase sales of the Subject Drugs; and paying additional rebates and

discounts to customers, effectively reducing the customer's acquisition cost for these

drugs without reporting to First DataBank prices net of these discounts and rebates.

Each of these false pricing representations was used by the Florida Medicaid Program

in paying or approving claims for drugs.

      44.    Alpharma USPD Inc., n/k1a Actavis Mid Atlantic LLC knowingly caused its


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false price and cost representations to be published during the time period specified in

this section in First DataBank's Automated Services and further made or used false

records or statements regarding the prices of its drugs. Examples of the differences

between the prices at which Defendant actually sold its drugs and the false prices

reported to First DataBank by Defendant are listed on Exhibit A 1.         The false price

representations as reported by Alpharma USPD Inc. n/kJal Actavis Mid Atlantic LLC and

reflected by First DataBank are listed in the AWP column and the WAC column. The

amount listed under the Relator's Cost column reflects the prices generally or currently

paid in the market place by the Relator or the Relator's Group Purchasing Organization

for the listed drugs obtained from Alpharma USPD Inc. n/k/a Actavis Mid Atlantic LLC or

a wholesaler.

       45.      As a direct and proximate result of Alpharma USPD Inc., n/kJa Actavis Mid

Atlantic's actio ns alleged in this Second Amended Complaint, the State of Florida

sustained actual damages in excess of $15,000 together with treble damages,

penalties, and attorneys' fees pursuant to the Florida False Claims Act.

                                VII. CAUSES OF ACTION

                                    COUNT I
                   VIOLATION OF THE FLORIDA FALSE CLAIMS ACT
                                 SANDOz/GENEVA

       46.      The Plaintiffs reallege and incorporate by reference paragraphs 1 through

45 as though fully set forth herein.

       47.      Sandoz/Geneva knowingly presented or caused to be presented false

claims for payment to the Florida Medicaid Program creating liability for a false claims

action pursuant to section 68.081, Fla. Stat., et seq.



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          48.   Sandoz/Geneva knowingly made, used or caused to be made or used a

false record or statement to get a false or fraudulent claim paid or approved by the

Florida Medicaid Program creating liability for a false claims action pursuant to section

68.081, Fla. Stat., et seq.

          49.   As a result of Sandoz/Geneva's conduct, the State of Florida, AHCA paid

the improper Medicaid claims and has suffered actual damages in excess of $15,000.

          50.   Pursuant to sections 68.082(2) and 68.086, Fla. Stat., the Plaintiffs are

entitled to treble the actual damages sustained, plus not less than $5,000 and not more

than $10,000 penalty per claim, plus all other relief setforth in said statutes, .

prejudgment interest, attorneys' fees and court costs.

                             COUNT II
            VIOLATION OF THE FLORIDA FALSE CLAIMS ACT
 DEFENDANT PUREPAC PHARMACEUTICAL CO. n/kla ACTAVIS ELIZABETH LLC

          51.   The Plaintiffs reallege and incorporate by reference paragraphs 1 through

45 as though fully set forth herein.

          52.   Purepac Pharmaceutical Co. n/k/a Actavis Elizabeth LLC knowingly

presented or caused to be presented false claims for payment to the Florida Medicaid

Program creating liability for a false claims action pursuant to section 68.081, Fla. Stat.,

et seq.

          53.   Purepac Pharmaceutical Co. n/kla Actavis Elizabeth LLC knowingly made,

used or caused to be made or used a false record or statement to get a false or

fraudulent claim paid or approved by the Florida Medicaid Program creating liability for a

false claims action pursuant to section 68.081, Fla. Stat., et seq.

          54.   Due to the conduct of Purepac Pharmaceutical Co. n/kla Actavis Elizabeth



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LLC's the State of Florida paid the improper Medicaid claims and has suffered actual

damages in excess of $15,000.

       55.    Pursuant to sections 68.082(2) and 68.086, Fla. Stat., the Plaintiffs are

entitled to treble the actual damages sustained, plus not less than $5,000 and not more

than $10,000 penalty per claim, plus all other relief set forth in said statutes,

prejudgment interest, attorneys' fees and court costs.

                             COUNT III
            VIOLATION OF THE FLORIDA FALSE CLAIMS ACT
     DEFENDANT ALPHARMA USPD INC. n/kla ACTAVIS MID ATLANTIC LLC

       56.    The Plaintiffs reallege and incorporate by reference paragraphs 1 through

45 as though fully set forth herein.

       57.    Alpharma USPD Inc. n/k/a Actavis Mid Atlantic LLC knowingly presented

or caused to be presented false claims for payment to the Florida Medicaid Program

creating liability for a false claims action pursuant to section 68.081, Fla. Stat., et seq.

       58.    Alpharma USPD Inc. n/k/a Actavis Mid Atlantic LLC knowingly made, used

or caused to be made or used a false record or statement to get a false or fraudulent

claim paid or approved by the Florida Medicaid Program creating liability for a false

claims action pursuant to section 68.081, Fla. Stat., et seq.

       59.    Due to the conduct of Alpharma USPD Inc. n/k/a Actavis Mid Atlantic LLC,

the State of Florida, AHCA paid the improper Medicaid claims and has suffered actual

damages in excess of $15,000.

       60.    Pursuant to sections 68.082(2) and 68.086, Fla. Stat., the Plaintiffs are

entitled to treble the actual damages sustained, plus not less than $5,000 and not more

than $10,000 penalty per claim, plus all other relief set forth in said statutes,



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prejudgment interest, attorneys' fees and court costs.

                                 PRAYER FOR RELIEF

       WHEREFORE, the Plaintiffs demand that judgment be entered in favor of the

State of Florida and the Relator against the Defendants as follows:

       A. On Count I, the Plaintiffs demand treble the amount of the State of Florida's

actual damages of at least $15,000 against Defendant Sarldoz/Geneva, as appropriate,

for the period beginning July, 1998, through and including the time of trial pursuant to

section 68.082(2), Fla. Stat.      In addition, the Plaintiffs demand that Defendant

Sandoz/Geneva be assessed a civil penalty of $10,000, as appropriate, for each and

every false claim identified in this action for its specific drugs and any and all false

claims for its specific drugs revealed through discovery. The Plaintiffs further demand

payment of prejudgment interest, attorneys' fees, expenses, investigative costs, and for

such other and further relief as the Court deems just and equitable pursuant to section

68.086, Fla. Stat.

       B. On Count II, the Plaintiffs demand treble the amount of the State of Florida's

actual damages of at least $15,000 against Defendant Purepac Pharmaceutical Co.

nlk/a Actavis Elizabeth LLC, as appropriate, for the period beginning April, 1998,

through and including the time of trial pursuant to section 68.082(2), Fla. Stat.         In

addition, the Plaintiffs demand that Defendant Purepac Pharmaceutical Co. nlk/a

Actavis Elizabeth LLC be assessed a civil penalty of $10,000, as appropriate, for each

and every false claim identified in this action for its specific drugs and any and all false

claims for its specific drugs revealed through discovery. The Plaintiffs further demand

payment of prejudgment interest, attorneys' fees, expenses, investigative costs, and for



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such other and further relief as the Court deems just and equitable pursuant to section

68.086, Fla. Stat.

        C. On Count III, the Plaintiffs demand treble the amount of the State of Florida's

actual damages of at least $15,000 against Defendant Alpharma USPD Inc. n/k/a

Actavis Mid Atlantic LLC, as appropriate, for the period beginning April, 1998, through

and including the time of trial pursuant to section 68.082(2), Fla. Stat. In addition, the

Plaintiffs demand that Defendant Alpharma USPD Inc. n/k/a Actavis Mid Atlantic LLC be

assessed a civil penalty of $10,000, as appropriate, for each and every false claim

identified in this action for its specific drugs and any and all false claims for its specific

drugs revealed through discovery.           The Plaintiffs further demand payment of

prejudgment interest, attorneys' fees, expenses, investigative costs, and for such other

and further relief as the Court deems just and equitable pursuant to section 68.086, Fla.

Stat.

                               DEMAND FOR JURY TRIAL

        The STATE OF FLORIDA and the RELATOR respectfully demand trial by jUry.




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    Respectfully submitted this 9th day of March, 2011.


                                     PAMELA JO BONDI
                                     ATTORNEY GENERAL
                                     STATE OF FLORIDA

                                     By   f!!~I)}(¥:d& ­
                                     Michael J. Karpinski
                                     Florida Bar Number: 668001
                                     Gretchen H. Wallace
                                     Florida Bar Number: 35070
                                     Diana Shumans
                                     Florida Bar Number: 675822
                                     Assistant Attorneys General
                                     Office of The Attorney General
                                     Medicaid Fraud Control Unit
                                     PL-01, The Capitol
                                     Tallahassee, Florida 32399-1050
                                     Telephone: 850-414-3600
                                     Facsimile:    850-410-2673

                                     Counsel for Relator
                                     Ven-A-Care of the Florida Keys, Inc.

                                     James J. Breen, Esq.
                                     Florida Bar Number: 297178
                                     The Breen Law Firm, P.A.
                                     5755 North Point Parkway, Ste. 260
                                     Alpharetta, GA 30022
                                     Telephone: 770-740-0008
                                     Facsimile:   770-740-9109

                                     Alison W. Simon, Esq.
                                     Florida Bar Number: 0109568
                                     Alison W. Simon, P.A.
                                     P. O. Box 430457
                                     Miami, FL 33243
                                     Telephone: 305- 663-2433
                                     Facsimile:   305- 665-1508




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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Second Amended Complaint has been
furnished as noted below, this 9 th day of March, 2011 to the following: .


Via U.S. Mail:                                  Via U. S. Mail:
Attorneys for Defendants Alpharma               Attorneys for Defendants Sandoz,
USPD, Inc., n/k/a Actavis Mid Atlantic,         Inc.
LLC, Purepac Pharmaceutical                     Peter Antonacci, Esquire
Company n/k/a Actavis Elizabeth                 Jonathan P. Kilman, Esquire
LLC,                                            Gray Robinson, P.A.
Stephen Ecenia, Esquire                         301 S. Bronough Street,
Rutledge, Ecenia, Purnell & Hoffman,            Suite 600 Tallahassee, FL 32301
P.A.                                            Telephone: 850-577-9090
Post Office Box 551                             Facsimile: 850-577-3311
215 South Monroe Street, Suite 420,             pva@gray-robinson.com
Tallahassee, Florida 32301                      jkilman@foley.com
Telephone: 850-681-6788
Facsimile: 850-681-6515
steve@rephlaw.com                               Via FedEx Delivery:
                                                Wayne A. Cross, Esquire
Via FedEx Delivery:                             Michael J. Gallagher, Esquire
Douglas B. Farquhar, Esquire                    White & Case LLP
Christine Bump, Esquire                         1155 Avenue of the Americas
Hyman, Phelps & McNamara, P.C.                  New York, NY 10036
700 Thirteenth Street, NW Suite 1200            Telephone: 212-819-8200
Washington, DC 20005                            Facsimile: 212-354-8113
Telephone: 202-737-5600                         wcross@whitecase.com
Facsimile: 202-737-9329                         mgallagher@whitecase.com
dbf@hmp.collljrf@hpm.com

Via FedEx Delivery:
Keith J. Harrison, Esquire
Crowell & Moring, LLP
1001 Pennsylvania Ave, N.W.
Washington, DC 20004
Telephone: 202-624-2560
Facsimile: 202-628-5116
kharrison@crowell.com




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